                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA
                        CIVIL ACTION NO. 1:23-cv-00077


 AMY BRYANT, MD,                            )
                                            )
               Plaintiff,                   )
 v.                                         )         DEFENDANT MEDICAL
                                            )         BOARD’S RESPONSE TO
 JOSHUA H. STEIN, in his official           )        MOTION TO INTERVENE AS
 capacity as Attorney General for the State
                                            )             DEFENDANTS
 of North Carolina, et al.,
                                            )
               Defendants.                  )
 _____________________________________ )

      Defendant, Michaux R. Kilpatrick, in her official capacity as President of the North

Carolina Medical Board, and Defendants Christine M. Khandelwal, Devdutta G. Sangvai,

John W. Rusher, William M. Brawley, W. Howard Hall, Sharona Y. Johnson, Joshua D.

Malcolm, Miguel A. Pineiro, Melinda H. Privette, Anuradha Roa-Patel, Robert Rich, Jr.,

in their official capacity as board members of the North Carolina Medical Board

(collectively, “the Medical Board”), by and through undersigned counsel, hereby respond

to the Motion to Intervene as Defendants filed by Phillip E. Berger and Timothy K. Moore

[D.E. 29]. The Medical Board does not oppose the motion to intervene.

      Respectfully submitted, this 7th day of March 2023.


                                                       JOSHUA H. STEIN
                                                       Attorney General

                                                       /s/ Michael Bulleri
                                                       Michael Bulleri
                                                       Special Deputy Attorney General




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